                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

RUTH SMITH, Individually and as Widow for the )
Use and Benefit of Herself and the Next Kin of )
Richard Smith, Deceased,                       )
                                               )
              Plaintiff,                       )          Civil No. 3:05-0444
                                               )          Judge Aleta A. Trauger
v.                                             )          (Dist. Of MA No.
                                               )          1:05-cv-11515PBS)
PFIZER, INC., et al.,                          )
                                               )
              Defendants.                      )

                        NOTICE OF EXPERT WITNESS STATEMENT

       PLEASE TAKE NOTICE THAT Defendants Pfizer Inc and Warner-Lambert Company

LLC hereby file the attached Expert Witness Statement of Robert Granacher, M.D.



Dated: April 27, 2010                     Respectfully submitted,


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                                                  -and-




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this the 27th day of April, 2010, I electronically filed the foregoing

document with the Clerk of the Court, United States District Court for the Middle District of

Tennessee, using the CM/ECF system. True and correct copies of the foregoing documents are

being served via the Court’s CM/ECF system on the following:

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                                                              /s/ Gerald D. Neenan




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